

Matter of Schadracia L. v Administration for Children's Servs. (2024 NY Slip Op 01512)





Matter of Schadracia L. v Administration for Children's Servs.


2024 NY Slip Op 01512


Decided on March 19, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 19, 2024

Before: Kern, J.P., Moulton, Gesmer, Mendez, Michael, JJ. 


Docket No. V-02769-22 Appeal No. 1880 Case No. 2022-05528 

[*1]In the Matter of Schadracia L., Appellant,
vAdministration for Children's Services et al., Respondent, Tryphose L., Respondent.


Carol L. Kahn, New York, for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Kevin Osowski of counsel), for Administration for Children's Services, respondent.
Leslie S. Lowenstein, Woodmere, attorney for the child.



Appeal from order, Family Court, New York County (Anna R. Lewis, J.), entered on or about November 16, 2022, which granted the oral application of respondents Administration for Children's Services and of the attorney for the subject child to dismiss the custody petition with prejudice, unanimously dismissed, without costs, as taken from a nonappealable paper.
After the child turned 18, the court lacked jurisdiction under article 6 of the Family Court Act (see Matter of Mondschein v Mondschein, 195 AD3d 1025, 1026-1027 [2d Dept 2021]; Family Court Act §§ 119[c], 651[b]). The order granting an oral application to dismiss the proceeding did not decide a motion made on notice, and therefore is not appealable as of right (see CPLR 5701[a][2]; Sholes v Meagher, 100 NY2d 333, 335 [2003]; Matter of Edwin P. v Jenny L.B., 193 AD3d 463 [1st Dept 2021]). Furthermore, a guardianship proceeding concerning the now-adult child was pending in another court. Were we to consider the merits, we would find that the court providently exercised its discretion in dismissing the custody petition with prejudice.
We have considered petitioner's remaining arguments and find them unavailing.	THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.	
ENTERED: March 19, 2024








